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                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          JACKSON DIVISION


UNITED STATES OF AMERICA

VS.                      CRIMINAL CASE NO. 3:12-cr-88-003(DCB)(FKB)

WILLIE EARL CULLEY                                               DEFENDANT


                                 ORDER

      This cause is before the Court on the defendant Willie Earl

Culley’s Motion for Reconsideration of Sentence (docket entry 272).

Upon review of the motion, the Court finds that a Response from the

Government is needed;

      Accordingly,

      IT IS HEREBY ORDERED that the Government respond to the

defendant’s motion within thirty (30) days from the date of entry

of this Order.

      SO ORDERED, this the 30th day of October, 2013.



                                         /s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE
